
652 S.E.2d 255 (2007)
Dianne ATKINS
v.
Rodney A. MORTENSON.
No. 415A07.
Supreme Court of North Carolina.
October 11, 2007.
Douglas S. Harris, for Atkins.
Deanna Davis Anderson, Raleigh, for Mortenson.
Prior report: ___ N.C.App. ___, 644 S.E.2d 625.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiff on the 23rd day of August 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendant, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 11th day of October 2007."
